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Shccl

UNITED STATES DlsTRlCT COURT

 

 

District of Idaho
UNITED STATES OF AMERICA JUDGMENT IN A CRIM[NAL CASE
V.
3:02-CR-00142-RCT
Case Nulnber: l:04-CR-00127-RCT
DAVlD ROLAND HINKSON
USM Number: 08795-023

Curtis Slnith, Steven Anderson
Dcl`cndant`s Atterney

THE DEFENDANT:
X pleaded guilty to count(s) 17 and 26 of the lndictment in Case #3:02-CR~00142-RCT

l:l pleaded nolo contendere to count($)
which was accepted by the court.

 

40-42 of the lndlctment in Case #3:02=CR=00142-RCT and counts

n
:04-CR-00]27-RCT after a plea of not guilty.

ix ............ J- .........

7, 8 and 9 ofthe Superseding Indictment in Cas #

Y nunc ‘Fnltr\ri m1ilt\; nn r‘nllnt(c‘\ 1_'{ d_ll§ '§l 'l'l_”l
c.:,.. \s} 1 .,, . .u,_.i,.,._u_,»
e 1

The defendant is adjudicated guilty ofthese offenses_'

Tit|e & Section Nature of Offense Offense Ended Count
26 § 7203 Case #3:02-CR-00142-Rc'r. willful Failure lu Flle Tu\» Relum 4/17/2000 l- 3
26 § 7202 clue #3;02-CR-0t)l42-RCT. willful l-'ailure m Cullccl Futlcrul Taxes l l/ 1/2000 4-16
21 §33] (a) ease #3;02-CR-00142-RCT_ l\llsbranded Drug 022/2002 17
21 § 331 (a) Case #3:02-€R-l)0142-RCT. Adul;erured t)evice 4/04/2002 26
31 § § 5324(3)(3) & Case #3:02-CR-00142-RCT Structuring Transactions to Avoid Reporting 2/23/2001 31,33-33, 411-42
(C)(Z) & 18 § 2 Requirements and A`lding and Abetting
18 § 373 Case #1:04-CR-00127-RCTi Solicitation to Commit a Crimc of Violcnce F€bl'ual'y 2003 7
18 § 373 ease #l;t)4-CR-0012?-RCT. Suliclluuuu iu Cummil a Crime urviulenue February 2003 8
18 § 373 C`ase #l:O4-CR-00127-RC'I`. Solicitation to Commit a Crime ofViolencc F€bI'UBI'y 2003 9
The defendant is sentenced as provided in pages 2 through s ofthisjudgment. The sentence is imposed pursuant 10

the Sentencing Referm Act 0f1984.
X The defendant has been found not guilty on count(s) 4,5,6,10 & z`t~l lof the Superseding lndictment in Case t`t`l :04¢CRv00142-RCT.
No verdict on counts 1,2 & #3 ofthe Indictment in Case #l:O4-CR-00127-RCT,
X Count(s) l8,19,20,21,22,23,24,25,27,28, [l is X are dismissed on the motion ofthe Unlted States.
29.30,32,and 39 in Case #3:02-CR-00142-RCT and counts 1.2 & 3 in Case #] :04-CR-00127-RCT.
lt is ordered that the defendant must notify the Unlted States attorney for this district within 30 days of any change ofname, residence,

or mailing address until_all fines, restitution, costs, and special assessments im osed by thisjudglnent are fully paid lfordcred to pay restitution,
the defendant must notify the court and Unlted States attorney ofmaterla| c anges tn economlc circumstances

J une 3` 2005
Datc of`lmpusition of.ludgmetlt 77 _H..
,1 ”J"r`, . , 7 ’/,
/ --`/ / /» f l 1 / /¢ f .
l`“ vi fx f'( ink _" ,‘,'l \ ~*"_"‘ / ()/,`.{' (', ,) . l¢_ -.-_
Sign\ature ofJudge "

Richard C Tallman_ Unlted States Circuit Judoe
Name and Title ol`Judge

June 3, 2005
l)ate

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Sheet 2 _ llnprisonrncnt

 

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. 3 ;nz-cR_oo l 42-RCT
CASE NUMBER' 1;04_CR~00127-RCT
IMPRISONMENT

The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a
total term of: 516 months. The total term in Case # 3102-CR-00142-RCT consists oft terms of 12 months each on counts 1-3,17 &

26; terms of 60 months each on counts 4-16; and terms of 120 months each on counts 31,33-38,40-42. All such terms in Case ti

3102-CR-00142-RCT shall be served concurrently with each other but consecutive to the imprisonment imposed in Case #i :04-CR-00127-
RCT. The total term in Case #1:04-CR-00127-RCT consists of terms of 120 months each on counts 7, 8 and 9, which shall run
consecutively to one another and consecutivel to the criminal Case #3:02-CR-00142-RCT. An additional 36 months shall run
consecutively to counts 7,8 and 9 pursuant to 8 U.S.C. § 3147. The total imprisonment term of 396 months im osed in Case #1:04-CR-
00127-RCT shall not begin to run until the Defendant has completed service ofthe total imprisonment term of l 0 months imposed in
Case #3:02-CR-00142-RCT.

X The court makes the following recommendations to the Bureau of Prisons:

That the defendant be credited with all time served, from the date of his arrest on April 4, 2003; and that the defendant be initially
classified as a high risk inmate who refuses to comply with institutional securi rules, who poses a continuing danger to witnesses and
Federal officers_, and who poses a risk offiight with access to money secrete in foreign bank accounts

The defendant is to be placed in the maximum security facility at Florence, Colorado.

X The defendant is remanded to the custody of the United States Marshal.

l:l The defendant shall surrender to the United States Marshal for this district

[l at [j a.m. l:l p.m. on

 

i:l as notified by the United States Marshal.

ij The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

El before 2 p.rn. on

 

|:l as notified by the United States Marshal.

Cl as notified by the Probation or Pretrial Services Oftice.

 

 

 

RE'I` U RN
1 have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of thisjudgment.
UNlTF_D STATES MARSHA[_.
By

 

Dlll"U`l`Y UNi`l l;`l) S'l`ATI-:S MARSHAL

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Shect 3 W Supervised Rclca_sc

 

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DEFENDANT: DAVID RONALD HINKSON

_ 3;02-CR-00142-RCT
CASENUMBER- l:04_CR-0012'i-RCT

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years

a term of 1 year supervised release on counts 1-3, 17 & 26 in Case #3:02~CR-00]42-RCT. 3 years supervised release on counts 4-16, 311
33-38, 40-42 in Case #3:02-CR-00142-RCT. All such terms of su ervised release to be served concurrently with one another.

3 years supervised release on counts 7, 8 and 9 in Case #1104-CR- 012'/`-RCT. All such terms ofsupervised release to be served
concurrently with one another and concurrently with the three year term of supervised release in Case #3:02-CR-00142-RCT.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfull possess a controlled substancel The defendant shall refrain from any unlawful use ofa controlled
substance The defendant shall su mlt to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

X The above drug testing condition is suspended based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

X The defendant shall not possess a firearm, destructive device, or any other dangerous weapon (Check, if applicable.)

X The defendant shali cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

ll The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

l:l The defendant shall participate iri an approved program for domestic violencel (Check, if applicable_)

_ Because this jud ment imposes a fine and restitution, it is a condition of supervised release that the defendant pay it in accordance
with the Schedule of ayments sheet ofthlsjudgment.

The defendant must comply with thestandard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the}defend\ant shall report to the probation officer and shall submit a truthful and complete written report withinthe first five days of
eac mont ;

3) the defendant shall answer truthfully ali inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family rcsponsibi[ities;

5) the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7') the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute. or administer any
controlled substance or any paraphemalla related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed or administered;

9) the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the pro atlon officer;

10) the defendant shall permit a_pro_bation officer to visit him or her at any time at holne or elsewhere and shall permit confiscation of any
contraband observed in plain view ofthe probation ofticer;

1 1) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission ofthe court; and

13) as directed by the ro_bation officer, the defendant shall notify lthird parties ofrisks that may be occasioned by the defendant`s criminal
record or ersona _history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant s compliance with such notification requirement

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Sheet 3 j Supcrvlsi:d Release

Judgmentil’age 4 oi` 6

DEFENDANT: DAVID RONALD HlNKSON

_ 3;02-CR-00142-RCT
CASENUMBER' 1;04-CR-00127-Rct

SPECIAL CONDITIONS OF SUPERVISION

l) Defcndant shall comply with the rules and regulations ofthe Probation Departmelit.
2) Defcndant shall not possess a firearm or other dangerous weapon.
3) Defcndant shall provide the probation officer with access to any requested financial information

4) Defcndant shall not incur_ne'w credit _charges_or ope_n additional lines of credit without the approval ofthe probation
officer unless the defendant is in compliance with the installment payment schedule.

5) Defcndant shall submit to a search of his person, place of residence, or automobile at the direction of the U.S. Probatioii
Officer and submit to seizure of any contraband found therein.

6) The defendant shall cooperate with the IRS in aying his back taxes owed. Also, he shall file an and all tax returns
required by law and maintain compliance with al applicable tax laws and provide the probation of icer with verification of

his compliance

7) Defcndant shall participate in mental health counseling as directed by the U.S. Probation O.fficer. The costs of such
treatment shall be paid by both the defendant and government based upon the defendant’s ability to pay for treatmentl

8) Defcndant shall pay the special assessment1 fine and the restitution obli ation that is imposed by this_judgrnent and any
monies that remain unpaid at the commencement ofthe term of supervisetfrelease shall be made payable to the Clerk ofthe
U.S. District Court, 550 W. Fort Street, MSC 039, Boise, ldaho, 837'24. The defendant shall complete all financial
payments no later than September 6, 2005.

9) Defendant, his a ents, managers, officers, and responsible persons operating defendant’s_sole proprietorship under the
name WaterOz, sha l cooperate with the Food and Drug Adlninistration in maintaining and insuring compliance by WaterOz
with all Food and Drug Act laws and regulationsl

Special conditions of supervised release shall supersede any standard condition that is inconsistent with the special
conditions

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Judgmcnt j Pagc 5 of 6
DEFENDANT'. DAVID RONALD HlNKSON
. 3202-CR-00142-RCT
CASE NUMBER' i :04-CR-00127-RCT

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment w Restitution
TOTALS $ 2,725.00 5 100_,000.00 S 720.00
Special assessment $2,425.00 is imposed on Case #3:02-CR-00142-RCT,
Special assessment $300.00, Fine $100,000.00, Restitution 8720.00 is imposed on Case #1:04-CR-00127-RCT.
l:l The determination ofrestitution is deferred until . An Amended Jua’gment in a Cri'nii'nal Case(AO 245C) will be entered

after such determination.
X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment, each payee shall receive an approximate| ro ortioned ayment, unless specified othenvise in
the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664 l)1 all nonfederal victims must be paid

before the United States is paid

The Court defers to the internal Revenue Service Civil Division the collection of all back taxes, interest, and penalties owed by the
defendant and his sole proprietorship WaterOz. Accordin ly, the Couit declines to order restitution of such losses in these criminal
proceedings because the amounts owed are substantial an it would complicate and undullysprolon 1 the sentencin process to fashion
such an order where an alternative civil collection mechanism is readily available to the I . 18 Lf.S.C. § 3663(a (l)(B)(ii).

Name of Payee Total Loss* Restitution Ordered Priority or Perccntage
Steven Hines 3720.00 100%

TOTALS S $ 720.00

[l Restitution amount ordered pursuant to plea agreement S

X The defendant must pay interest on restitution and a fine ofmore than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date ofthejudgment, pursuant to 18 U.S.C. § 3612(1°). All ofthe payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

l:l The court determined that the defendant does not have the ability to pay interest and it is ordered that:
ij the interest requirement is waived for the [| fine l:l restitution

l:l the interest requirement for the l:l fine l:l restitution is modified as follows:

 

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Sheet 6 j Schcdulc of Payments

Judgment j Pagc 6 of 6
DEFENDANT: DAVID RONALD HINKSON

_ 3:02-CR-00142-RCT
CASENUMBER- l;04-CR-00127-RCT

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment ofthe total criminal monetary penalties are due as follows:

A X Lump sum payment of$ 5100 000 due immediately, balance due

._._..._.__

X not later than September 6z 2005 , or
l:l in accordance l___l C, l:l D, l:l E,or [l Fbelow; or

B l:l Payment to begin immediately (may be combined with l:| C, l:l D, or E F below); or

C l:l Payment in equal (e.g,, weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g.1 30 or 60 days) after the date ofthis judgment; or

D [:l Payment in equal (e.g., weekly, monthly, quarterly) installments of 3 over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E l:l Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment ofthe defendant’s ability to pay at that time_; or

F X Special instructions regarding the payment of criminal monetary penalties:

82,725.00 special assessment and $720.00 restitution are due immediately P_ayments to be made to Clerk ofthe Court7 District of
lSdaho, 51_‘15_0 . Fort St., MSC 039. Boise, lD 83724. Clerk shall disburse restitution payments to the victim. lRS Special Agent
teven ines.

_Unle_ss the court has expressly ordered otherwise if this judoment imposes imprisonment, paym ent of criminal monetary penalties is due durinv
lmprison_m_e_nt. All crimlna monetary penalties, except arose payments made through t e Federal Bureau of Prisons’ lnmate Flnanciai
Responsibility Program, are made to t e clerk ofthe court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

§ loint and Several

Defcndant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, loint and Several Amount.
and corresponding payee, if appropriate

X The defendant shall pay the cost ofprosecution of$ 13,741.54. due on or before September 6, 2005.
'l`he defendant shall pay the following court cost(s):
X The defendant shall forfeit the defendant’s interest in the following property to the United States:

S 135,500.00 in U.Sl currency as previously ordered by the Court on March 25. 2005. in Case Number 3102-CR-00142-RCT.

Paylnents shall be applied in the following order: (l? assessment, (2) restitution principal, (3) restitution interest, (4) fine principal`
(5) fine interest, (6) community restitution, (7) pena ties` and (8) costs, including cost of prosecution and court costs.

